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                                                         REPRESENTATION OF PRINTED DOCUMENT                            Page   1 of 2
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                                MortgageFiled 10/21/21  Entered 10/21/21 17:39:40                               Desc Main
                        P.O. Box 26648 Document       Page 3 of 7
                                Oklahoma City, OK 73126-0648
                                                                                        Loan number:
                                                                                                   928 N 67TH ST
                                                                                        PHILADELPHIA PA 19151
                                                                                       Date Reviewed: 09/14/2021
                                                                           Next Escrow Cycle: Dec 2021 - Nov 2022


      ARTHUR R MARTIN
      928 N 67TH ST
      PHILADELPHIA PA 19151




                                           Escrow Account Statement
Why am I           Midland Mortgage, a division of MidFirst Bank ("Midland") recently reviewed your escrow account.
receiving          Part of your monthly mortgage loan payment (“mortgage payment”) goes into your escrow account to
                   pay recurring expenses on your behalf such as property taxes, insurance, and other items required by
this
                   your loan documents. This statement shows how those expenses affect the amount of your monthly
statement?         mortgage payment.
Why did my         The most common reason escrow payments change is an increase or decrease in the amounts you
payment            pay in property taxes and homeowner's insurance. If you have questions about a change in your
change?            tax or insurance bills, please contact your local taxing authority or insurance agent.

What do I          Please review your escrow statement below. The “Escrow Surplus” section gives the amount of your
need to do         escrow surplus and explains the status of your surplus funds. The last page of this statement includes
next?              helpful answers to common escrow questions.

Important          If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
                   currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt
Notices
                   from you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank
                   obtained it, and you have not filed bankruptcy or received a discharge of the debt secured by the
                   Mortgage/Deed of Trust, we are required to advise you that this communication is from a debt collector, this is
                   an attempt to collect a debt, and any information obtained will be used for that purpose.

                   Notice to Connecticut and North Carolina Residents: The purpose of this communication is to collect a debt.

                   Notice to Vermont Residents: This is an attempt to collect a debt and any information obtained will be used for
                   that purpose.



New Monthly Mortgage Payment
The amount needed in your escrow account to pay your expenses, such as property taxes or homeowner's insurance,
has changed. Because of this, your mortgage payment has changed to $618.02 beginning with the 12/1/2021
mortgage payment.

Monthly Payment                                             Old Payment                  New Payment                  Change
Principal & Interest                                        $461.92                      $461.92                      None
Escrow Deposit plus Escrow Shortage or Surplus              $156.83                      $156.10                      Decrease
Total Monthly Mortgage Payment                              $618.75                      $618.02                      Decrease

Escrow Bills and Escrow Payment
The following chart shows the breakdown of the amounts we anticipated to be paid from your escrow account since the
last review and the new amounts we expect to pay from your escrow account between December 2021 and November
2022.

Escrow Bills                                   Old Amount                        New Amount                            Change
Homeowners Ins                                 $966.00                           $966.00                               None
MI Premiums                                    $162.12                           $145.80                               Decrease
City/Town Tax                                  $753.87                           $761.49                               Increase
Annual Total                                   $1,881.99                         $1,873.29                             Decrease
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Required Minimum Balance
The required minimum balance is between 0 and 2 new monthly escrow payments and is determined by the terms of your loan
documents, federal and/or state law. The new required minimum balance in your escrow account is $287.90

                               Your lowest expected escrow balance:                                                                             $847.44
                               Your required minimum balance                                                                                    $287.90
                               The difference creates a surplus in your escrow account of:                                                      $559.54
Because the lowest expected balance is higher than the required minimum balance, there is a surplus of $559.54 in your account.
This surplus is illustrated in the table below, and can be found by calculating the difference in the bolded numbers in the
Anticipated Balance and Required Balance columns.


Expected Escrow Account Transactions
The following chart shows the amounts we expect to deposit into and pay out of your escrow account during the next escrow cycle,
as well as the required balance for each month. These projections are based on the most recent bills paid from your escrow
account. The actual amounts billed by your insurance company and by your taxing authority in the upcoming year may be
different and could result in changes to your monthly mortgage payment when your escrow account is reviewed in the
future. If you become aware of a change to your insurance or taxes, you may wish to contact Midland to have your escrow
account reviewed to avoid a large shortage or surplus in the future.

                         EXPECTED PAYMENTS             EXPECTED PAYMENTS                                              ANTICIPATED          REQUIRED
    MONTH-YEAR               TO ESCROW                    FROM ESCROW                 DESCRIPTION                        BALANCE            BALANCE
                                                                                      Starting Balance                    $1,177.08              $617.54
     Dec-21                    $156.10                        -$12.15                 MI PREMIUMS                         $1,321.03              $761.49
     Jan-22                    $156.10                        -$12.15                 MI PREMIUMS                         $1,464.98              $905.44
     Feb-22                    $156.10                        -$12.15                 MI PREMIUMS                         $1,608.93             $1,049.39
     Feb-22                    $0.00                          -$761.49                CITY/TOWN TAX                        $847.44               $287.90
     Mar-22                    $156.10                        -$12.15                 MI PREMIUMS                          $991.39               $431.85
     Apr-22                    $156.10                        -$12.15                 MI PREMIUMS                         $1,135.34              $575.80
     May-22                    $156.10                        -$12.15                 MI PREMIUMS                         $1,279.29              $719.75
     Jun-22                    $156.10                        -$12.15                 MI PREMIUMS                         $1,423.24              $863.70
     Jul-22                    $156.10                        -$12.15                 MI PREMIUMS                         $1,567.19             $1,007.65
     Aug-22                    $156.10                        -$12.15                 MI PREMIUMS                         $1,711.14             $1,151.60
     Sep-22                    $156.10                        -$12.15                 MI PREMIUMS                         $1,855.09             $1,295.55
     Oct-22                    $156.10                        -$966.00                HAZARD                              $1,045.19              $485.65
     Oct-22                    $0.00                          -$12.15                 MI PREMIUMS                         $1,033.04              $473.50
     Nov-22                    $156.10                        -$12.15                 MI PREMIUMS                         $1,176.99              $617.45
     Total                     $1,873.20                      -$1,873.29


Escrow Account History
This chart shows the estimated and actual activity in your escrow account from 12/1/20 through 9/1/2021. If the servicing of your
loan recently transferred to Midland or your loan has analyzed within the last 12 months the table below may be blank or show a
history of less than 12 months. If the last escrow account statement provided by Midland was issued to you more than 12 months
ago, additional months of transaction history for transactions more than 12 months in the past is included on page 5 of this
statement. The previously required minimum balance and the actual minimum balance reached are indicated by bold font in the
chart below.

                    PAYMENTS TO                                         PAYMENTS FROM                                                     ESCROW
                      ESCROW                                               ESCROW                                                         BALANCE
 MONTH-
               Estimated         Actual       Estimated           Description            Actual             Description         Estimated             Actual
  YEAR
                                                                                                  Starting Balance                    $610.55        -$1,789.21
  Dec-20          $156.83        $362.82          -$13.51      MI PREMIUMS                -$12.15         MI PREMIUMS*                $753.87        -$1,438.54
  Jan-21          $156.83           $0.00         -$13.51      MI PREMIUMS                -$12.15         MI PREMIUMS*                $897.19        -$1,450.69
  Feb-21          $156.83        $159.58          -$13.51      MI PREMIUMS                -$12.15         MI PREMIUMS*            $1,040.51          -$1,303.26
  Feb-21            $0.00           $0.00        -$753.87     CITY/TOWN TAX              -$761.49         CITY/TOWN TAX               $286.64        -$2,064.75
  Mar-21          $156.83        $703.81          -$13.51      MI PREMIUMS                -$12.15         MI PREMIUMS*                $429.96        -$1,373.09
  Apr-21          $156.83        $159.58          -$13.51      MI PREMIUMS                -$12.15         MI PREMIUMS*                $573.28        -$1,225.66
  May-21          $156.83        $495.07          -$13.51      MI PREMIUMS                -$12.15         MI PREMIUMS*                $716.60         -$742.74
  Jun-21          $156.83        $338.24          -$13.51      MI PREMIUMS                -$12.15         MI PREMIUMS*                $859.92         -$416.65
  Jul-21          $156.83        $181.41          -$13.51      MI PREMIUMS                -$12.15         MI PREMIUMS*            $1,003.24           -$247.39
  Aug-21          $156.83        $156.83          -$13.51      MI PREMIUMS                -$12.15         MI PREMIUMS*            $1,146.56           -$102.71
  Sep-21          $156.83        $181.41          -$13.51      MI PREMIUMS                -$12.15         MI PREMIUMS*            $1,289.88             $66.55
   Total        $1,568.30       $2,738.75        -$888.97                                -$882.99

* The single asterisk indicates a difference in the amount or date of the estimated and actual payouts from escrow.
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Escrow Surplus
There is a surplus in your escrow account in the amount of $559.54. See below for details about how we determined what to do
with the surplus in your escrow account and how it may have affected your monthly mortgage payment.



      If the surplus is $50 or more and your loan was current
      Loans that are current as of the date of the escrow analysis with an escrow surplus of $50 or more are issued a check
      for the amount of the escrow surplus. If a check for your escrow surplus is attached to the bottom of this page, please
      cash it as soon as possible. If the check is not cashed within 90 days, the check will expire and the surplus will be
      returned to the escrow account.

      If the surplus is less than $50 and your loan was current
      If the loan was current as of the date of the escrow analysis and has an escrow surplus of less than $50, the amount of the
      escrow surplus has been credited to your monthly escrow payment over the next 12 months, lowering the monthly mortgage
      payment amount. See the “New Monthly Mortgage Payment” section on page 1 for details about the monthly surplus credit.

      If your loan payments are past due by 30 days or more
      If the loan payment was not due for the current month as of the date of the escrow analysis, the surplus was retained in your
      escrow account.

                        Your monthly mortgage payment will be $618.02 beginning on 12/1/2021.
                         This is the lowest your monthly payment amount can be at this time.




                        What if I have enrolled in an Automatic Payment Plan?
     •    If you use Midland’s Automatic Payment Plan, we will automatically adjust your payment withdrawal amount.
     •    If you use an automatic payment program other than Midland’s, please contact your payment administrator
          and ask them to update your payment to the new amount.




                                             Worried About Payments?
     If you are struggling to pay your monthly payment, please call us at 1-800-552-3000 Monday through Friday from
     8 a.m. until 9 p.m. (Central Time) to discuss your account and the options that may be available to help you.

     You can also visit us online at www.MyMidlandMortgage.com/applynow to get an application for assistance.




                         Please review the reverse side of this statement for
                           helpful answers to common escrow questions.




  If this statement indicates that there is a surplus that exceeds
$50 in your account and your loan was current, the amount of the
  escrow surplus will be sent in a separate mailing with a check
enclosed. ?If your loan is not current or the surplus was less than
  or equal to $50, the escrow surplus has been held in escrow.

                                  www.MyMidlandMortgage.com
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Frequently Asked Escrow Account Questions
Q1 What is an escrow account?
  Part of your monthly mortgage payment includes an amount for your loan’s principal and/or interest, but it also
  includes an amount for property-related expenses (such as property taxes, insurance, and other items required by
  your loan documents). These amounts are deposited into an escrow account associated with your mortgage loan.
  With an escrow account, you pay a portion of your property taxes, insurance, and other items required by your loan
  documents every month instead of once or twice a year.

Q2 Why did Midland change my monthly mortgage payment amount?
  Midland does not change your principal and interest monthly payments unless you have an adjustable interest rate
  mortgage loan or an interest-only period on your loan. Increases or decreases to the escrow portion of your monthly
  mortgage payment are usually because of changes in your taxes or insurance.
      Property Taxes: Your property taxes may change when your property is reassessed, when the applicable tax
      rate changes, or when a special tax or assessment is charged by your local taxing authority. Contact your local
      taxing authority if you have questions about changes to your property taxes.
      Homeowner’s and Flood Insurance: Your premium for insurance covering your property can change when
      your coverage changes or if the rate that your insurance company charges for your coverage changes. Contact
      your insurance carrier or agent with questions about your insurance coverage and the cost of your coverage.
      You may also contact our Insurance Service Center at 1-866-439-2712 to discuss any changes in your
      insurance bills and your options.

Q3 How often will my escrow payment change?
  Your monthly escrow payment, and thus your monthly mortgage payment, may change at least once a year when
  we review your escrow account as required by federal and state law. Your escrow payment might be recalculated
  more than once a year if there are substantial changes in your escrow bills (for example, you obtain homeowner’s
  insurance at a reduced rate or you receive an exemption from paying the full amount of your property taxes).

Q4 Will my automatic payments change to cover my new payment amount?
  If you use Midland’s Automatic Payment Plan, we’ll automatically adjust the withdrawal amount to the new payment
  amount upon its effective date. If you use an automatic payment program other than Midland’s, please contact your
  payment administrator and ask them to update your payment to the new amount.

Q5 What should I do if I think my escrow bills are wrong?
  You should verify billing amounts with your insurance carrier or taxing authority if you believe your escrow account
  has been charged incorrectly. If the amounts have changed, provide Midland with proof of the change from the
  taxing authority or insurance carrier so that we can adjust your escrow payment accordingly.

Q6 What are my options if my payment increased and I can’t afford a higher mortgage
   payment?
  If a payment increase causes a financial hardship and you cannot afford the larger monthly mortgage payment, call
  us at 1-800-552-3000 to discuss mortgage assistance options that may be available to you.




Visit www.MyMidlandMortgage.com/Escrow for additional
helpful answers to frequently asked escrow questions or
             contact us at 1-800-654-4566.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Mortgage
Payment Change was served electronically or via U.S. Mail, first-class postage prepaid, to:

                                       SERVICE LIST

DEBTOR(S)
(VIA US MAIL)
Bernard M Mahaney
Marie L Mahaney
2819 56th Ave Cir E
Bradenton, FL 34203

DEBTOR(S) ATTORNEY
(VIA ELECTRONIC NOTICE)
Laurie L Blanton
Blanton Law, P.A.
1100 C. South Tamiami Trail
Venice, FL 34285
courtnotices@bankruptcyfitzhugh.com

CHAPTER 13 TRUSTEE
(VIA ELECTRONIC NOTICE)
Kelly Remick
Chapter 13 Standing Trustee
Post Office Box 6099
Sun City, FL 33571
ecf@ch13tampa.com

U.S.TRUSTEE
(VIA ELECTRONIC NOTICE)
United States Trustee - TPA7/13, 7
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602
t: 813-228-2000
USTPRegion21.TP.ECF@USDOJ.GOV


                                             Dated: October 9, 2019

                                             /s/ Wanda D. Murray
                                             Wanda D. Murray, FL Bar No. 566381
                                             Aldridge Pite, LLP
                                             Attorney for Secured Creditor
                                             Fifteen Piedmont Center
                                             3575 Piedmont Road, N.E., Suite 500
                                             Atlanta, GA 30305
                                             Phone: (858) 731-0449
                                             Fax: (619) 326-2430
                                             Email: WMurray@aldridgepite.com

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PROOF OF SERVICE
